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                       Exhibit A
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                            DECLARATION OF DAN SMULIAN

I, Dan Smulian declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the following

is true and correct to the best of my knowledge and belief:

   1. I am a Supervising Attorney at the Immigration Law Unit at The Legal Aid Society. I

       supervise Karene Brown who represents F.G.M. in his immigration proceedings. I have

       been communicating with F.G.M. and representing him before ICE-ERO.

   2. F.G.M. was originally detained at Bluebonnet Detention Center. Around May 6, 2025, he

       was moved to Eden Detention Center. F.G.M. reported that he was moved along with

       nine other Venezuelans. I am attaching a screenshot reflecting that his current location

       continues to be Eden. At Eden, he is kept in the Segregation Housing Unit with up to one

       roommate. At present he is the only person in his cell. As of Friday, May 9, he has been

       allowed out into a small area not much bigger than two body lengths, surrounded by

       fencing, for about 30 minutes a day.

   3. Because I am based in New York, I have been unable to visit F.G.M. in person. Instead, I

       rely on phone calls and virtual visits to communicate with him. Arranging legal

       communications at both facilities has been time consuming.

   4. F.G.M.’s access to a phone has been sporadic. When F.G.M. arrived at Eden, the PIN

       code he was given for communications did not work so he was not able to call us at all.

       Eventually, he was able to call out, which I believe costs money.

   5. Confidential legal video visit must be scheduled days in advance. Prior to F.G.M. being

       moved from Bluebonnet, I waited over a week for a scheduled video call with F.G.M. He

       was moved to Eden before that call could occur. It typically takes 2 to 4 days at Eden.
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   6. I have also been unable to reach him on the non-confidential messaging application used

      at Eden. F.G.M. reports that he only has sporadic access to the messaging tablet.

   7. If F.G.M. did not have an attorney, it would be extremely difficult for him to file a habeas

      petition on his own. I am not sure how he would even learn basic information such as

      what should be included in the petition and where to mail it. F.G.M. struggles with

      literacy in Spanish and does not speak, read or write English. I do not believe that

      F.G.M. has access to interpretation or translation services at Eden. He simply would not

      be able to draft a habeas petition on his own.

   8. F.G.M. is unaware whether Eden even has a law library. Even if F.G.M. had access to a

      law library, he would be unable to use it to understand how to file a habeas petition.

   9. I do not believe that F.G.M. has open access to the internet and even if he did, would not

      know how to access information regarding filing a habeas petition.



Executed May 12, 2025.

                                                                                  /s/ Dan Smulian

                                                                                     Dan Smulian
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